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CERTIFICATE OF SERVICE

I, Andrew R. Remming, certify that I am not less than 18 years of age, and that
service of the foregoing Debtors’ Motion For An Order Under 11 U.S.C. § 102(1) Shortening
Notice Relating To Debtors’ Motion For An Order Approving The Assumption And
Assignment Of Certain Additional Executory Contracts Pursuant To The Sale Of The
Debtors’ Enterprise Solutions Business was caused to be made on December 17, 2009, in the
manner indicated upon the parties identified on the attached service list.
£.

“Andrew R. Remming (No. 5120)

Dated: December 17, 2009

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